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  EXHIBIT 5
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     Comprehensive Experimental Analyses of Automotive Attack Surfaces

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                         Abstract                                    This situation suggests a significant gap in knowledge,
Modern automobiles are pervasively computerized, and              and one with considerable practical import. To what ex-
hence potentially vulnerable to attack. However, while            tent are external attacks possible, to what extent are they
previous research has shown that the internal networks            practical, and what vectors represent the greatest risks?
within some modern cars are insecure, the associated              Is the etiology of such vulnerabilities the same as for
threat model — requiring prior physical access — has              desktop software and can we think of defense in the same
justifiably been viewed as unrealistic. Thus, it remains an       manner? Our research seeks to fill this knowledge gap
open question if automobiles can also be susceptible to           through a systematic and empirical analysis of the remote
remote compromise. Our work seeks to put this question            attack surface of late model mass-production sedan.
to rest by systematically analyzing the external attack              We make four principal contributions:
surface of a modern automobile. We discover that remote           Threat model characterization. We systematically
exploitation is feasible via a broad range of attack vectors      synthesize a set of possible external attack vectors as
(including mechanics tools, CD players, Bluetooth and             a function of the attacker’s ability to deliver malicious
cellular radio), and further, that wireless communications        input via particular modalities: indirect physical access,
channels allow long distance vehicle control, location            short-range wireless access, and long-range wireless
tracking, in-cabin audio exfiltration and theft. Finally, we      access. Within each of these categories, we characterize
discuss the structural characteristics of the automotive          the attack surface exposed in current automobiles and
ecosystem that give rise to such problems and highlight           their surprisingly large set of I/O channels.
the practical challenges in mitigating them.                      Vulnerability analysis. For each access vector category,
                                                                  we investigate one or more concrete examples in depth
1    Introduction                                                 and assess the level of actual exposure. In each case we
Modern cars are controlled by complex distributed com-            find the existence of practically exploitable vulnerabilities
puter systems comprising millions of lines of code execut-        that permit arbitrary automotive control without requiring
ing on tens of heterogeneous processors with rich connec-         direct physical access. Among these, we demonstrate the
tivity provided by internal networks (e.g., CAN). While           ability to compromise a car via vulnerable diagnostics
this structure has offered significant benefits to efficiency,    equipment widely used by mechanics, through the media
safety and cost, it has also created the opportunity for new      player via inadvertent playing of a specially modified
attacks. For example, in previous work we demonstrated            song in WMA format, via vulnerabilities in hands-free
that an attacker connected to a car’s internal network can        Bluetooth functionality and, finally, by calling the car’s
circumvent all computer control systems, including safety         cellular modem and playing a carefully crafted audio
critical elements such as the brakes and engine [14].             signal encoding both an exploit and a bootstrap loader
   However, the threat model underlying past work                 for additional remote-control functionality.
(including our own) has been met with significant, and            Threat assessment. From these uncovered vulnerabili-
justifiable, criticism (e.g., [1, 3, 16]). In particular, it is   ties, we consider the question of “utility” to an attacker:
widely felt that presupposing an attacker’s ability to physi-     what capabilities does the vulnerability enable? Unique
cally connect to a car’s internal computer network may be         to this work, we study how an attacker might leverage a
unrealistic. Moreover, it is often pointed out that attackers     car’s external interfaces for post-compromise control. We
with physical access can easily mount non-computerized            demonstrate multiple post-compromise control channels
attacks as well (e.g., cutting the brake lines).                  (including TPMS wireless signals and FM radio), inter-
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active remote control via the Internet and real-time data       tion of how an adversary might be able to access a car’s
exfiltration of position, speed and surreptitious streaming     internal bus (and thus compromise its ECUs) absent direct
of cabin audio (i.e., anything being said in the vehicle) to    physical access, a question that we answer in this paper.
an outside recipient. Finally, we also explore potential at-       About the latter question — understanding the external
tack scenarios and gauge whether these threats are purely       attack surface of modern vehicles — there has been
conceptual or whether there are plausible motives that          far less research work. Among the exceptions is Rouf
transform them into actual risks. In particular, we demon-      et al.’s recent analysis of the wireless Tire Pressure
strate complete capabilities for both theft and surveillance.   Monitoring System (TPMS) in a modern vehicle [22].
Synthesis. On reflection, we noted that the vulnera-            While their work was primarily focused on the privacy
bilities we uncovered have surprising similarities. We          implications of TPMS broadcasts, they also described
believe that these are not mere coincidences, but that          methods for manipulating drivers by spoofing erroneous
many of these security problems arise, in part, from            tire pressure readings and, most relevant to our work,
systemic structural issues in the automotive ecosystem.         an experience in which they accidentally caused the
Given these lessons, we make a set of concrete, pragmatic       ECU managing TPMS data to stop functioning through
recommendations which significantly raise the bar for           wireless signals alone. Still others have focused on the
automotive system security. These recommendations are           computer security issues around car theft, including
intended to “bridge the gap” until deeper architectural         Francillon et al.’s recent demonstration of relay attacks
redesign can be carried out.                                    against keyless entry systems [9], and the many attacks
                                                                on the RFID-based protocols used by engine immobi-
2   Background and Related Work                                 lizers to identify the presence of a valid ignition key,
Modern automobiles are controlled by a heterogeneous            e.g., [2, 6, 11]. Orthogonally, there has been work that
combination of digital components. These components,            considers the future security issues (and expanded attack
Electronic Control Units (ECUs), oversee a broad range          surface) associated with proposed vehicle-to-vehicle
of functionality, including the drivetrain, brakes, lighting,   (V2V) systems (sometimes also called vehicular ad-hoc
and entertainment. Indeed, very few operations are not          networks, or VANETs) [4, 13, 21]. To the best of our
mediated by computer control in a modern vehicle (with          knowledge, however, we are the first to consider the full
the parking brake and steering being the last holdouts,         external attack surface of the contemporary automobile,
though semi-automatic parallel parking capabilities are         characterize the threat models under which this surface is
available in some vehicles and full steer-by-wire has been      exposed, and experimentally demonstrate the practicality
demonstrated in several concept cars). Charette estimates       of remote threats, remote control, and remote data
that a modern luxury vehicle includes up to 70 distinct         exfiltration. Our experience further gives us the vantage
ECUs including tens of millions of lines of code [5]. In        point to reflect on some of the ecosystem challenges that
turn, ECUs are interconnected by common wired net-              give rise to these problems and point the way forward
works, usually a variant of the Controller Area Network         to better secure the automotive platform in the future.
(CAN) [12] or FlexRay bus [8]. This interconnection
permits complex safety and convenience features such as         3   Automotive threat models
pre-tensioning of seat-belts when a crash is predicted and      While past work has illuminated specific classes of threats
automatically varying radio volume as a function of speed.      to automotive systems — such as the technical security
   At the same time, this architecture provides a broad         properties of their internal networks [14, 15, 24, 26, 27,
internal attack surface since on a given bus each compo-        28] — we believe that it is critical for future work to place
nent has at least implicit access to every other component.     specific threats and defenses in the context of the entire
Indeed, several research groups have described how              automotive platform. In this section, we aim to bootstrap
this architecture might be exploited in the presence            such a comprehensive treatment by characterizing the
of compromised components [15, 24, 26, 27, 28] or               threat model for a modern automobile. Though we
demonstrated such exploits by spoofing messages to              present it first, our threat model is informed significantly
isolated components in the lab [10]. Most recently,             by the experimental investigations we carried out, which
our own group documented experiments on a complete              are described in subsequent sections.
automobile, demonstrating that if an adversary were                In defining our threat model, we distinguish between
able to communicate on one or more of a car’s internal          technical capabilities and operational capabilities.
network buses, then this capability could be sufficient            Technical capabilities describe our assumptions con-
to maliciously control critical components across the           cerning what the adversary knows about its target vehicles
entire car (including dangerous behavior such as forcibly       as well as her ability to analyze these systems to develop
engaging or disengaging individual brakes independent of        malicious inputs for various I/O channels. For example,
driver input) [14]. However, these results raise the ques-      we assume that the adversary has access to an instance of
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the automobile model being targeted and has the technical
skill to reverse engineer the appropriate subsystems and
protocols (or is able to purchase such information from
a third-party). Moreover, we assume she is able to obtain
the appropriate hardware or medium to transmit messages
whose encoding is appropriate for any given channel.1
When encountering cryptographic controls, we also
assume that the adversary is computationally bounded
and cannot efficiently brute force large shared secrets,
such as large symmetric encryption keys. In general, we
assume that the attacker only has access to information
that can be directly gleaned from examining the systems
of a vehicle similar to the one being targeted.2 We believe
these assumptions are quite minimal and mimic the                            Figure 1: Digital I/O channels appearing on a modern
access afforded to us when conducting this work.                             car. Colors indicate rough grouping of ECUs by function.
   By contrast, operational capabilities characterize the
adversary’s requirements in delivering a malicious input                   accessed by service personnel during routine maintenance
to a particular access vector in the field. In considering                 for both diagnostics and ECU programming.
the full range of I/O capabilities present in a modern                        Historically this access is achieved using dedicated
vehicle, we identify the qualitative differences in the                    handheld “scan” tools such as Ford’s NGS, Nissan’s
challenges required to access each channel. These in                       Consult II and Toyota’s Diagnostic Tester which are
turn can be roughly classified into three categories:                      themselves programmed via Windows-based personal
indirect physical access, short-range wireless access,                     computers. For modern vehicles, most manufacturers
and long-range wireless access. In the remainder of this                   have adopted an approach that is PC-centric. Under this
section we explore the threat model for each of these                      model, a laptop computer interfaces with a “PassThru”
categories and within each we synthesize the “attack                       device (typically directly via USB or WiFi) that in turn
surface” presented by the full range of I/O channels                       is plugged into the car’s OBD-II port. Software on the
present in today’s automobiles. Figure 1 highlights where                  laptop computer can then interrogate or program the car’s
I/O channels exist on a modern automobile today.                           ECUs via this device (typically using the standard SAE
                                                                           J2534 API). Examples of such tools include Toyota’s
3.1    Indirect physical access                                            TIS, Ford’s VCM, Nissan’s Consult 3 and Honda’s HDS
Modern automobiles provide several physical interfaces                     among others.
that either directly or indirectly access the car’s internal                  In both situations Windows-based computers directly
networks. We consider the full physical attack surface                     or indirectly control the data to be sent to the automobile.
here, under the constraint that the adversary may not                      Thus, if an adversary were able to compromise such
directly access these physical interfaces herself but must                 systems at the dealership she could amplify this access to
instead work through some intermediary.                                    attack any cars under service. Such laptop computers are
OBD-II. The most significant automotive interface is                       typically Internet-connected (indeed, this is a requirement
the OBD-II port, federally mandated in the U.S., which                     for some manufacturers’ systems), so traditional means
typically provides direct access to the automobile’s                       of personal computer compromise could be employed.
key CAN buses and can provide sufficient access to                            Further afield, electric vehicles may also communicate
compromise the full range of automotive systems [14].                      with external chargers via the charging cable. An
While our threat model forbids the adversary from direct                   adversary able to compromise the external charging
access herself, we note that the OBD-II port is commonly                   infrastructure may thus be able to leverage that access
                                                                           to subsequently attack any connected automobile.
    1 For the concrete vulnerabilities we will explore, the hardware       Entertainment: Disc, USB and iPod. The other
cost for such capabilities is modest, requiring only commodity laptop      important class of physical interfaces are focused on
computers, an audio card, a USB-to-CAN interface, and, in a few
                                                                           entertainment systems. Virtually all automobiles shipped
instances, an inexpensive, off-the-shelf USRP software radio platform.
    2 A question which we do not consider in this work is the extent to    today provide a CD player able to interpret a wide
which the attack surface is “portable” between vehicle models from         variety of audio formats (raw “Red Book” audio, MP3,
a given manufacturer. There is significant evidence that some such         WMA, and so on). Similarly, vehicle manufacturers also
attacks are portable as manufacturers prefer to build a small number
                                                                           provide some kind of external digital multimedia port
of underlying platforms that are specialized to deliver model-specific
features, but we are not in a position to evaluate this question compre-   (typically either a USB port or an iPod/iPhone docking
hensively.                                                                 port) for allowing users to control their car’s media
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system using their personal audio player or phone. Some       toring System (TPMS) to alert drivers about under or over
manufacturers have widened this interface further; BMW        inflated tires. The most common form of such systems, so-
and Mini recently announced their support for “iPod Out,”     called “Direct TPMS,” uses rotating sensors that transmit
a scheme whereby Apple media devices will be able to          digital telemetry (frequently in similar bands as RKEs).
control the display on the car’s console.                     RFID car keys. RFID-based vehicle immobilizers
   Consequently, an adversary might deliver malicious         are now nearly ubiquitous in modern automobiles and
input by encoding it onto a CD or as a song file and          are mandatory in many countries throughout the world.
using social engineering to convince the user to play it.     These systems embed an RFID tag in a key or key fob
Alternatively, she might compromise the user’s phone or       and a reader in or near the car’s steering column. These
iPod out of band and install software onto it that attacks    systems can prevent the car from operating unless the
the car’s media system when connected.                        correct key (as verified by the presence of the correct
   Taking over a CD player alone is a limited threat; but,    RFID tag) is present.
for a variety of reasons, automotive media systems are        Emerging short-range channels. A number of manu-
not standalone devices. Indeed, many such systems are         facturers have started to discuss providing 802.11 WiFi
now CAN bus interconnected, either to directly interface      access in their automobiles, typically to provide “hotspot”
with other automotive systems (e.g., to support chimes,       Internet access via bridging to a cellular 3G data link.
certain hands-free features, or to display messages on        In particular, Ford offers this capability in the 2012
the console) or simply to support a common maintenance        Ford Focus. (Several 2011 models also provided WiFi
path for updating all ECU firmware. Thus, counterintu-        receivers, but we understand they were used primarily
itively, a compromised CD player can offer an effective       for assembly line programming.)
vector for attacking other automotive components.                Finally, while not currently deployed, an emerging
                                                              wireless channel is defined in the Dedicated Short-Range
3.2   Short-range wireless access                             Communications (DSRC) standard, which is being
Indirect physical access has a range of drawbacks in-         incorporated into proposed standards for Cooperative
cluding its operational complexity, challenges in precise     Collision Warning/Avoidance and Cooperative Cruise
targeting, and the inability to control the time of compro-   Control. Representative programs in the U.S. include the
mise. Here we weaken the operational requirements on          Department of Transportation’s Cooperative Intersection
the attacker and consider the attack surface for automotive   Collision Avoidance Systems (CICAS-V) and the Vehicle
wireless interfaces that operate over short ranges. These     Safety Communications Consortium’s VSC-A project.
include Bluetooth, Remote Keyless Entry, RFIDs, Tire          In such systems, forward vehicles communicate digitally
Pressure Monitoring Systems, WiFi, and Dedicated Short-       to trailing cars to inform them of sudden changes in
Range Communications. For this portion of the attack          acceleration to support improved collision avoidance and
surface we assume that the adversary is able to place         harm reduction.
a wireless transmitter in proximity to the car’s receiver     Summary. For all of these channels, if a vulnerability ex-
(between 5 and 300 meters depending on the channel).          ists in the ECU software responsible for parsing channel
Bluetooth. Bluetooth has become the de facto standard         messages, then an adversary may compromise the ECU
for supporting hands-free calling in automobiles and          (and by extension the entire vehicle) simply by transmit-
is standard in mainstream vehicles sold by all major          ting a malicious input within the automobile’s vicinity.
automobile manufacturers. While the lowest level of the
Bluetooth protocol is typically implemented in hardware,      3.3   Long-range wireless
the management and services component of the Bluetooth        Finally, automobiles increasingly include long distance
stack is often implemented in software. In normal usage,      (greater than 1 km) digital access channels as well. These
the Class 2 devices used in automotive implementations        tend to fall into two categories: broadcast channels and
have a range of 10 meters, but others have demonstrated       addressable channels.
that this range can be extended through amplifiers and        Broadcast channels. Broadcast channels are chan-
directional antennas [20].                                    nels that are not specifically directed towards a given
Remote Keyless Entry. Today, all but entry-level              automobile but can be “tuned into” by receivers on-
automobiles shipped in the U.S. use RF-based remote           demand. In addition to being part of the external at-
keyless entry (RKE) systems to remotely open doors,           tack surface, long-range broadcast mediums can be
activate alarms, flash lights and, in some cases, start the   appealing as control channels (i.e., for triggering at-
ignition (all typically using digital signals encoded over    tacks) because they are difficult to attribute, can com-
315 MHz in the U.S. and 433 MHz in Europe).                   mand multiple receivers at once, and do not require
Tire pressure. In the U.S., all 2007 model year and           attackers to obtain precise addressing for their vic-
newer cars are required to support a Tire Pressure Moni-      tims.
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   The modern automobile includes a plethora of broad-                     4     Vulnerability Analysis
cast receivers for long-range signals: Global Positioning                  We now turn to our experimental exploration of the
System (GPS),3 Satellite Radio (e.g., SiriusXM receivers                   attack surface. We first describe the automobile and
common to late-model vehicles from Honda/Accura, GM,                       key components under evaluation and provide some
Toyota, Saab, Ford, Kia, BMW and Audi), Digital Radio                      context for the tools and methods we employed. We then
(including the U.S. HD Radio system, standard on 2011                      explore in-depth examples of vulnerabilities via indirect
Ford and Volvo models, and Europe’s DAB offered in                         physical channels (CDs and service visits), short-range
Ford, Audi, Mercedes, Volvo and Toyota among others),                      wireless channels (Bluetooth), and long-range wireless
and the Radio Data System (RDS) and Traffic Message                        (cellular). Table 1 summarizes these results as well as our
Channel (TMC) signals transmitted as digital subcarriers                   qualitative assessment of the cost (in effort) to discover
on existing FM-bands.                                                      and exploit these vulnerabilities.
   The range of such signals depends on transmitter
power, modulation, terrain, and interference. As an                        4.1    Experimental context
example, a 5 W RDS transmitter can be expected to                          All of our experimental work focuses on a moderately
deliver its 1.2 kbps signal reliably over distances up                     priced late model sedan with the standard options and
to 10 km. In general, these channels are implemented in                    components. Between 100,000 and 200,000 of this
an automobile’s media system (radio, CD player, satellite                  model were produced in the year of manufacture. The
receiver) which, as mentioned previously, frequently                       car includes less than 30 ECUs comprising both critical
provides access via internal automotive networks to other                  drivetrain components as well as less critical components
key automotive ECUs.                                                       such as windshield wipers, door locks and entertainment
Addressable channels. Perhaps the most important part                      functions. These ECUs are interconnected via multiple
of the long-range wireless attack surface is that exposed                  CAN buses, bridged where necessary. The car exposes
by the remote telematics systems (e.g., Ford’s Sync,                       a number of external vectors including the OBD-II port,
GM’s OnStar, Toyota’s SafetyConnect, Lexus’ Enform,                        media player, Bluetooth, wireless TPMS sensors, keyless
BMW’s BMW Assist, and Mercedes-Benz’ mbrace) that                          entry, satellite radio, RDS, and a telematics unit. The
provide continuous connectivity via cellular voice and                     last provides voice and data access via cellular networks,
data networks. These systems provide a broad range of                      connects to all CAN buses, and has access to Bluetooth,
features supporting safety (crash reporting), diagnostics                  GPS and independent hands-free audio functionality (via
(early alert of mechanical issues), anti-theft (remote track               an embedded microphone in the passenger cabin). We
and disable), and convenience (hands-free data access                      also obtained the manufacturer’s standard “PassThru”
such as driving directions or weather).                                    device used by dealerships and service stations for
   These cellular channels offer many advantages for                       ECU diagnosis and reprogramming, as well as the
attackers. They can be accessed over arbitrary distance                    associated programming software. For several ECUs,
(due to the wide coverage of cellular data infrastructure)                 notably the media and telematics units, we purchased a
in a largely anonymous fashion, typically have relatively                  number of identical replacement units via on-line markets
high bandwidth, are two-way channels (supporting inter-                    to accommodate the inevitable “bricking” caused by
active control and data exfiltration), and are individually                imperfect attempts at code injection.
addressable.                                                                  Building on our previous work, we first established
Stepping back. There is a significant knowledge gap                        a set of messages and signals that could be sent on our
between these possible threats and what is known to                        car’s CAN bus (via OBD-II) to control key components
date about automotive security. Given this knowledge                       (e.g., lights, locks, brakes, and engine) as well as injecting
gap, much of this threat model may seem far-fetched.                       code into key ECUs to insert persistent capabilities and to
However, in the next section of this paper we find quite                   bridge across multiple CAN buses [14]. Note, such inter-
the opposite. For each category of access vector we                        bus bridging is critical to many of the attacks we explore
will explore one or two aspects of the attack surface                      since it exposes the attack surface of one set of compo-
deeply, identify concrete vulnerabilities, and explore and                 nents to components on a separate bus; we explain briefly
demonstrate practical attacks that are able to completely                  here. Most vehicles implement multiple buses, each of
compromise our target automobile’s systems without                         which host a subset of the ECUs.4 However, for func-
requiring direct physical access.
                                                                               4 In prior work we hypothesized that CAN buses were purposely
   3 We do not currently consider GPS to be a practical access vector      separated for security reasons — one for safety-critical components like
for an attacker because in all automotive implementations we are aware     the radio and engine and the other for less important components such
of, GPS signals are processed predominantly in custom hardware. By         as a radio. Based on discussions with industry experts we have learned
contrast, we have identified significant software-based input processing   that this separation has until now often been driven by bandwidth and
in other long-range wireless receivers.                                    integration concerns and not necessarily security.
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Vulnerability                          Implemented                                 Visible                 Full
Class                 Channel          Capability                                  to User    Scale        Control     Cost              Section
Direct physical       OBD-II port      Plug attack hardware directly into car      Yes        Small        Yes         Low               Prior work [14]
                                       OBD-II port

Indirect physical     CD               CD-based firmware update                    Yes        Small        Yes         Medium            Section 4.2
                      CD               Special song (WMA)                          Yes∗       Medium       Yes         Medium-High       Section 4.2
                      PassThru         WiFi or wired control connection to         No         Small        Yes         Low               Section 4.2
                                       advertised PassThru devices
                      PassThru         WiFi or wired shell injection               No         Viral        Yes         Low               Section 4.2
Short-range           Bluetooth        Buffer overflow with paired Android         No         Large        Yes         Low-Medium        Section 4.3
wireless                               phone and Trojan app
                      Bluetooth        Sniff MAC address, brute force PIN,         No         Small        Yes         Low-Medium        Section 4.3
                                       buffer overflow
Long-range            Cellular         Call car, authentication exploit, buffer    No         Large        Yes         Medium-High       Section 4.4
wireless                               overflow (using laptop)
                      Cellular         Call car, authentication exploit, buffer    No         Large        Yes         Medium-High       Section 4.4
                                       overflow (using iPod with exploit au-
                                       dio file, earphones, and a telephone)

   Table 1: Attack surface capabilities. The Visible to User column indicates whether the compromise process is visible to the
   user (the driver or the technician); we discuss social engineering attacks for navigating user detection in the body. For (∗),
   users will perceive a malfunctioning CD. The Scale column captures the approximate scale of the attack, e.g., the CD firmware
   update attack is small-scale because it requires distributing a CD to each target car. The Full Control column indicates whether
   this exploit yields full control over the component’s connected CAN bus (and, by transitivity, all the ECUs in the car). Finally,
   the Cost column captures the approximate effort to develop these attack capabilities.
tionality reasons these buses must be interconnected to                           and interactive debugging with controlled inputs on the
support the complex coupling between pairs of ECUs and                            bench. In the first case, we identified the microprocessor
thus a small number of ECUs are physically connected to                           (e.g., different components described in this paper use
multiple buses and act as logical bridges. Consequently,                          System on Chip (SoC) variants of the PowerPC, ARM,
by modifying the “bridge” ECUs (either via a vulnerabil-                          Super-H and other architectures) and used the industry-
ity or simply by reflashing them over the CAN bus as they                         standard IDA Pro disassembler to map control flow and
are designed to be) an attacker can amplify an attack on                          identify potential vulnerabilities, as well as debugging
one bus to gain access to components on another. Con-                             and logging options that could be enabled to aid in
sequently, the result is that compromising any ECU with                           reverse engineering.6 In situ observation with logging
access to some CAN bus on our vehicle (e.g., the media                            enabled allowed us to understand normal operation of the
player) is sufficient to compromise the entire vehicle.                           ECU and let us concentrate on potential vulnerabilities
   Combining these ECU control and bridging com-                                  near commonly used code paths. Finally, ECUs were
ponents, we constructed a general “payload” that we                               removed from the car and placed into a test harness on the
attempted to deliver in our subsequent experiments                                bench from which we could carefully control all inputs
with the external attack surface.5 To be clear, for every                         and monitor outputs. In this environment, interactive
vulnerability we demonstrate, we are able to obtain                               debuggers were used to examine memory and single step
complete control over the vehicle’s systems. We did                               through vulnerable code under repeatable conditions. For
not explore weaker attacks.                                                       one such device, the Super-H-based media player, we
   For each ECU we consider, our experimental approach                            resorted to writing our own native debugger and exported
was to extract its firmware and then explicitly reverse                           a control and output interface through an unused serial
engineering its I/O code and data flow using disassembly,                         UART interface we “broke out” off the circuit board.
interactive logging and debugging tools where appropri-                              In general, we made use of any native debugging I/O
ate. In most cases, extracting the firmware was possible                          we could identify. For example, like the media player,
directly via the CAN bus (this was especially convenient                          the telematics unit exposed an unused UART that we
because in most ECUs we encountered, the flash chips                              tapped to monitor internal debugging messages as we
are not socketed and while we were able to desolder and                           interactively probed its I/O channels. In other cases, we
read such chips directly, the process was quite painful).                            6 IDA Pro does not support embedded architectures as well as x86
   Having the firmware in hand, we performed three basic                          and consequently we needed to modify IDA Pro to correctly parse
types of analysis: raw code analysis, in situ observations,                       the full instruction set and object format of the target system. In one
                                                                                  particular case (for the TPMS processor) IDA Pro did not provide any
    5 In this work we experimented with two equivalent vehicles to ensure         native support and we were forced to write a complete architecture
that our results were not tied to artifacts of a particular vehicle instance.     module in order to use the tool.
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selectively rewrote ECU memory (via the CAN bus or by                   arbitrary length reads to be specified; together these allow
exploiting software vulnerabilities) or rewrote portions                a buffer overflow.
of the flash chips using the manufacturer-standard ECU                     This particular vulnerability is not trivial to exploit.
programming tools. For the telematics unit, we wrote                    The buffer that is overflowed is not on the stack but
a new character driver that exported a command shell                    in a BSS segment, without clear control data variables
to its Unix-like operating system directly over the OBD-                to hijack. Moreover, immediately after the buffer are
II port to enable interactive debugging in a live vehicle.              several dynamic state variables whose values are con-
In the end, our experience was that although the ECU                    tinually checked and crash the system when overwritten
environment was somewhat more challenging than that                     arbitrarily.
of desktop operating systems, it was surmountable with                     To overcome these and other obstacles, we developed
dedicated effort.                                                       a native in-system debugger that communicates over an
                                                                        unused serial port we identified on the media player. This
4.2    Indirect physical channels                                       debugger lets us dump and alter memory, set breakpoints,
We consider two distinct indirect physical vectors in                   and catch exceptions. Using this debugger we were
detail: the media player (via the CD player) and service                able to find several nearby dynamic function pointers
access to the OBD-II port. We describe each in turn                     to overwrite as well as appropriate contents for the
along with examples of when an adversary might be able                  intervening state variables.
to deliver malicious input.                                                We modified a WMA audio file such that, when burned
Media player. The media player in our car is fairly                     onto a CD, plays perfectly on a PC but sends arbitrary
typical, receiving a variety of wireless broadcast signals,             CAN packets of our choosing when played by our car’s
including analog AM and FM as well as digital signals                   media player. This functionality adds only a small space
via FM sub-carriers (RDS, called RBDS in the U.S.) and                  overhead to the WMA file. One can easily imagine many
satellite radio. The media player also accepts standard                 scenarios where such an audio file might find its way into
compact discs (via physical insertion) and decodes audio                a user’s media collection, such as being spread through
encoded in a number of formats including raw Red Book                   peer-to-peer networks.
audio as well as MP3 and WMA files encoded on an                        OBD-II. The OBD-II port can access all CAN buses in
ISO 9660 filesystem.                                                    the vehicle. This is standard functionality because the
   The media player unit itself is manufactured by a                    OBD-II port is the principal means by which service
major supplier of entertainment systems, both stock units               technicians diagnose and update individual ECUs in a
directly targeted for automobile manufacturers as well                  vehicle. This process is intermediated by hardware tools
as branded systems sold via the aftermarket. Software                   (sold both by automobile manufacturers and third parties)
running on the CPU handles audio parsing and playback                   that plug into the OBD-II port and can then be used
requests, UI functions, and directly handles connections                to upgrade ECUs’ firmware or to perform a myriad of
to the CAN bus.                                                         diagnostic tasks such as checking the diagnostic trouble
   We found two vulnerabilities. First, we identified a                 codes (DTCs).
latent update capability in the media player that will                     Since 2004, the Environmental Protection Agency
automatically recognize an ISO 9660-formatted CD with                   has mandated that all new cars in the U.S. support the
a particularly named file, present the user with a cryptic              SAE J2534 “PassThru” standard — a Windows API
message and, if the user does not press the appropriate                 that provides a standard, programmatic interface to
button, will then reflash the unit with the data contained              communicate with a car’s internal buses. This is typically
therein.7 Second, knowing that the media player can                     implemented as a Windows DLL that communicates
parse complex files, we examined the firmware for input                 over a wired or wireless network with the reprogram-
vulnerabilities that would allow us to construct a file that,           ming/diagnostic tool (hereafter we refer to the latter
if played, gives us the ability to execute arbitrary code.              simply as “the PassThru device”). The PassThru device
   For the latter, we reverse-engineered large parts of the             itself plugs into the OBD-II port in the car and from that
media player firmware, identifying the file system code                 vantage point can communicate on the vehicle’s internal
as well as the MP3 and WMA parsers. In doing so, we                     networks under the direction of software commands sent
documented that one of the file read functions makes                    via the J2534 API. In this way, applications developed
strong assumptions about input length and moreover that                 independently of the particular PassThru device can be
there is a path through the WMA parser (for handling                    used for reprogramming or diagnostics.
an undocumented aspect of the file format) that allows                     We studied the most commonly used PassThru device
   7 This is not the standard method that the manufacturer uses to      for our car, manufactured by a well-known automotive
update the media player software and thus we believe this is likely a   electronics supplier on an OEM basis (the same device
vestigial capability in the supplier’s code base.                       can be used for all current makes and models from
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the same automobile manufacturer). The device itself                                               Service Center WiFi Network
is roughly the size of a paperback book and consists
                                                                                 Laptop             PassThru              PassThru
of a popular SoC microprocessor running a variant of                                       1                       4
                                                                                                     Device                Device
Linux as well as multiple network interfaces, including
                                                                                               2         3                   5
USB and WiFi — and a connector for plugging into
the car’s OBD-II port.8 We discovered two classes of
vulnerabilities with this device. First, we find that an
attacker on the same WiFi network as the PassThru
device can easily connect to it and, if the PassThru                         Figure 2: PassThru-based shell-injection exploit scenario.
device is also connected to a car, obtain control over                       The adversary gains access to the service center network
the car’s reprogramming. Second, we find it possible to                      (e.g., by compromising an employee laptop), then (1)
                                                                             compromises any PassThru devices on the network, each
compromise the PassThru device itself, implant malicious
                                                                             of which compromise any cars they are used to service
code, and thereby affect a far greater number of vehicles.                   (2 and 3), installing Trojan horses to be activated based
To be clear, these are vulnerabilities in the PassThru                       on some environmental trigger. The PassThru device also
device itself, not the Windows software which normally                       (4) spreads virally to other PassThru devices (e.g., if a
communicates with it. We experimentally evaluated both                       device is loaned to other shops) which can repeat the same
vulnerability classes and elaborate on our analyses below.                   process (5).
   After booting up, the device periodically advertises
its presence by sending a UDP multicast packet on each                     installs a malicious binary (modifying startup scripts so
network to which it is connected, communicating both                       it is always enabled). The malicious binary will send
its IP address and a TCP port for receiving client requests.               pre-programmed messages over the CAN bus whenever
Client applications using the PassThru DLL connect to                      a technician connects the PassThru device to a car. These
the advertised port and can then configure the PassThru                    CAN packets install malware onto the car’s telematics
device or command it to begin communicating with the                       unit. This malware waits for an environmental trigger
vehicle. Communication between the client application                      (e.g., specific date and time) before performing some
and the PassThru device is unauthenticated and thus                        action. Figure 2 gives a pictorial overview of this attack.
depends exclusively on external network security for                           To summarize, an attacker who can connect to a
any access control. Indeed, in its recommended mode                        dealership’s wireless network (e.g., via social engineering
of deployment, any PassThru device should be directly                      or a worm/virus à la Stuxnet [7]) is able to subvert any
accessible by any dealership computer. A limitation is                     active PassThru devices that will in turn compromise any
that only a single application can communicate with a                      vehicles to which they connect. Moreover, the PassThru
given PassThru device at a time, and thus the attacker                     device is sufficiently general to mount the attack itself. To
must wait for the device to be connected but not in use.                   demonstrate this, we have modified our program, turning
   The PassThru device exports a proprietary, unauthen-                    it into a worm that actively seeks out and spreads to other
ticated API for configuring its network state (e.g., for                   PassThru devices in range. This attack does not require
setting with which WiFi SSID it should associate). We                      interactivity with the attacker and can be fully automated.
identified input validation bugs in the implementation of
this protocol that allow an attacker to run arbitrary Bourne               4.3   Short-range wireless channels: Bluetooth
Shell commands via shell-injection, thus compromising                      We now turn to short-range wireless channels and focus
the unit. The underlying Linux distribution includes pro-                  on one in particular: Bluetooth. Like many modern cars,
grams such as telnetd, ftp, and nc so, having gained                       ours has built-in Bluetooth capabilities which allow the
entry to the device via shell injection, it is trivial for the             occupants’ cell phones to connect to the car (e.g., to
attacker to open access for inbound telnet connections                     enable hands-free calling). These Bluetooth capabilities
(exacerbated by a poor choice of root password) and then                   are built into our car’s telematics unit.
transfer additional data or code as necessary.                                Through reverse engineering, we gained access to
   To evaluate the utility of this vulnerability and make                  the telematics ECU’s Unix-like operating system and
it concrete, we built a program that combines all of these                 identified the particular program responsible for handling
steps. It contacts any PassThru devices being advertised                   Bluetooth functionality. By analyzing the program’s
(e.g., via their WiFi connectivity or if connected directly                symbols we established that it contains a copy of a
via Ethernet), exploits them via shell injection, and                      popular embedded implementation of the Bluetooth
    8 The manufacturer’s dealership guidelines recommend the use of
                                                                           protocol stack and a sample hands-free application.
                                                                           However, the interface to this program and the rest of the
the WiFi interface, thereby supporting an easier tetherless mode of use,
and suggest the use of link-layer protection such as WEP (or, in the       telematics system appear to be custom-built. It is in this
latest release of the device, WPA2) to prevent outside access.             custom interface code that we found evidence of likely
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vulnerabilities. Specifically, we observed over 20 calls                     address. Second, the attacker must surreptitiously pair his
to strcpy, none of which were clearly safe. We inves-                        or her own device with the car. Experimentally, we find
tigated the first such instance in depth and discovered an                   that we can use the open source Bluesniff [23] package
easily exploitable unchecked strcpy to the stack when                        and a USRP-based software radio to sniff our car’s Blue-
handling a Bluetooth configuration command.9 Thus, any                       tooth MAC address when the car is started in the presence
paired Bluetooth device can exploit this vulnerability to                    of a previously paired device (e.g., when the driver turns
execute arbitrary code on the telematics unit.                               on the car while carrying her cell phone). We were also
   As with our indirect physical channel investigations,                     able to discover the car’s Bluetooth MAC address by
we establish the utility of this vulnerability by making it                  sniffing the Bluetooth traffic generated when one of the
concrete. We explore two practical methods for exploiting                    devices, which has previously been paired to a car, has its
this attack and in doing so unearth two sub-classes of the                   Bluetooth unit enabled, regardless of the presence of the
short-range wireless attack vector: indirect short-range                     car — all of the devices we experimented with scanned
wireless attacks and direct short-range wireless attacks.                    for paired devices upon Bluetooth initialization.
Indirect short-range wireless attacks. The vulnerabil-                          Given the MAC address, the other requirement for
ity we identified requires the attacker to have a paired                     pairing is possessing a shared secret (the PIN). Under
Bluetooth device. It may be challenging for an attacker to                   normal use, if the driver wishes to pair a new device, she
pair her own device with the car’s Bluetooth system — a                      puts the car into pairing mode via a well-documented
challenge we consider in the direct short-range wireless                     user interface, and, in turn, the car provides a random PIN
attacks discussion below. However, the car’s Bluetooth                       (regenerated each time the car starts or when the driver
subsystem was explicitly designed to support hands-free                      initiates the normal pairing mode) which is then shown
calling and thus may naturally be paired with one or                         on the dashboard and must then be manually entered into
more smartphones. We conjecture that if an attacker can                      the phone. However, we have discovered that our car’s
independently compromise one of those smartphones,                           Bluetooth unit will respond to pairing requests even with-
then the attacker can leverage the smartphone as a                           out any user interaction. Using a simple laptop to issue
stepping-stone for compromising the car’s telematics                         pairing requests, we are thus able to brute force this PIN
unit, and thus all the critical ECUs on the car.                             at a rate of eight to nine PINs per minute, for an average
   To assess this attack vector we implemented a simple                      of approximately 10 hours per car; this rate is limited
Trojan Horse application on the HTC Dream (G1) phone                         entirely by the response time of the vehicle’s Bluetooth
running Android 2.1. The application appears to be in-                       stack. We conducted three empirical trials against our car
nocuous but under the hood monitors for new Bluetooth                        (resetting the car each time to ensure that a new PIN was
connections, checks to see if the other party is a telemat-                  generated) and found that we could pair with the car after
ics unit (our unit identifies itself by the car manufacturer                 approximately 13.5, 12.5, and 0.25 hours, respectively.
name), and if so sends our attack payload. While we                          The pairing process does not require any driver inter-
have not attempted to upload our code to the Android                         vention and will happen completely obliviously to any
Market, there is evidence that other Trojan applications                     person in the car.10 While this attack is time consuming
have been successfully uploaded [25]. Additionally, there                    and requires the car(s) under attack to be running, it is
are known exploits that can compromise Android and                           also parallelizable, e.g., an attacker could sniff the MAC
iPhone devices that visit malicious Web sites. Thus our                      addresses of all cars started in a parking garage at the
assessment suggests that smartphones can be a viable                         end of a day (assuming the cars are pre-paired with at
path for exploiting a car’s short-range wireless Bluetooth                   least one Bluetooth device). If a thousand such cars leave
vulnerabilities.                                                             the parking garage in a day, then we expect to be able to
Direct short-range wireless attacks. We next assess                          brute force the PIN for at least one car within a minute.
whether an attacker can remotely exploit the Bluetooth                          After completing this pairing, the attacker can inject on
vulnerability without access to a paired device. Our                         the paired channel an exploit like the one we developed
experimental analyses found that a determined attacker                       and thus compromise the vehicle.
can do so, albeit in exchange for a significant effort in
development time and an extended period of proximity                         4.4    Long-range wireless channels: Cellular
to the vehicle.                                                              Finally, we consider long-range wireless channels and,
   There are two steps precipitating a successful attack.                    in particular, focus on the cellular capabilities built into
First, the attacker must learn the car’s Bluetooth MAC                       our car’s telematics unit. Like many modern cars, our
   9 Because the size of the available buffer is small, our exploit simply
                                                                             car’s cellular capabilities facilitate a variety of safety
creates a new shell on the telematics unit from which it downloads and         10 As an artifact of how this “blind” pairing works, the paired device

executes more complex code from the Internet via the unit’s built-in         does not appear on the driver’s list of paired devices and cannot be
3G data capabilities.                                                        unpaired manually.
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and convenience features (e.g., the car can automatically       we established that the center frequency was roughly
call for help if it detects a crash). However, long-range       700 Hz and that the signal was consistent with a 400 bps
communications channels also offer an obvious target            frequency-shift keying (FSK) signal.
for potential attackers, which we explore here. In this            We then used LD_PRELOAD on the telematics unit
section, we describe how these channels operate, how            to interpose on the raw audio samples as they left the
they were reverse engineered and demonstrate that               software modem. Using this improved signal source, we
a combination of software flaws conspire to allow a             hunted for known values contained in the signal (e.g.,
completely remote compromise via the cellular voice             unique identifiers stamped on the unit). We did so by en-
channel. We focus on adversarial actions that leverage          coding these values as binary waveforms at hypothesized
the existing cellular infrastructure, not ones that involve     bitrates and cross-correlating them to the demodulated sig-
the use of adversarially-controlled infrastructure; e.g., we    nal until we were able to establish the correct parameters
do not consider man-in-the-middle attacks.                      for demodulating digital bits from the raw analog signal.
Telematics connectivity. For wide-area connectivity,               From individual bits, we then focused on packet
our telematics unit is equipped with a cell phone interface     structure. We were lucky to discover a debugging flag in
(supporting voice, SMS and 3G data). While the unit             the telematics software that would produce a binary log
uses its 3G data channel for a variety of Internet-based        of all packet payloads transmitted or received, providing
functions (e.g., navigation and location-based services),       ground truth. Comparing this with the bitstream data,
it relies on the voice channel for critical telematics          we discovered the details of the framing protocol (e.g.,
functions (e.g., crash notification) because this medium        the use of half-width bits in the synchronization header)
can provide connectivity over the widest possible service       and were able to infer that data is sent in packets of up
area (i.e., including areas where 3G service is not             to 1024-bytes, divided into 22-byte frames which are
yet available). To synthesize a digital channel in this         divided into two 11-byte segments. We inferred that a
environment, the manufacturer uses Airbiquity’s aqLink          CRC and ECC were both used to tolerate noise. Search-
software modem to covert between analog waveforms and           ing the disassembled code for known CRC constants
digital bits. This use of the voice channel in general, and     quickly led us to determine the correct CRC to use, and
the aqLink software in particular, is common to virtually       the ECC code was identified in a similar fashion. For
all popular North American telematics offerings today.          reverse-engineering the header contents, we interposed
   In our vehicle, Airbiquity’s software is used to create a    on the aqSend call (used to transmit messages), which
reliable data connection between the car’s telematics unit      allowed us to send arbitrary multi-frame packets and
and a remote Telematics Call Center (TCC) operated by           consequently infer the sequence number, multi-frame
the manufacturer. In particular, the telematics unit incor-     identifier, start of packet bit, ACK frame structure, etc.
porates the aqLink code in its Gateway program which            We omit the many other details due to space constraints.
controls both voice and data cellular communication.               Given our derived protocol specification, we then
Since a single cellular channel is used for both voice and      implemented an aqLink-compatible software modem in C
data, a simple, in-band, tone-based signaling protocol is       using a laptop with an Intel ICH3-based modem exposed
used to switch the call into data mode. The in-cabin audio      as an ALSA sound device under Linux. We verified the
is muted when data is transmitted, although a tell-tale         modulation and formatting of our packet stream using
light and audio announcement is used to indicate that a         the debugging log described earlier.
call is in progress. For pure data calls (e.g., telemetry and      Finally, layered on top of the aqLink modem is the
remote diagnostics), the unit employs a so-called “stealth”     telematics unit’s own proprietary command protocol that
mode which does not provide any indication that a call          allows the TCC to retrieve information about the state of
is in progress.                                                 the car as well as to remotely actuate car functions. Once
Reverse engineering the aqLink protocol. Reverse                the Gateway program decodes a frame and identifies it as
engineering the aqLink protocol was among the most              a command message, the data is then passed (via an RPC-
demanding parts of our effort, in particular because it         like protocol) to another telematics unit program which
demanded signal processing skills not part of the typical       is responsible for supervising overall telematics activities
reverse engineering repertoire. For pedagogical reasons,        and implementing the command protocol (henceforth,
we briefly highlight the process of our investigation.          the Command program). We reverse-engineered enough
   We first identified an in-band tone used to initiate “data   of the Gateway and Command programs to identify a
mode.” Having switched to data mode, aqLink provides            candidate vulnerability, which we describe below.
a proprietary modulation scheme for encoding bits. By           Vulnerabilities in the Gateway. As mentioned earlier,
calling our car’s telematics unit (the phone number is          the aqLink code explicitly supports packet sizes up to
available via caller ID), initiating data mode with a tone      1024 bytes. However, the custom code that glues aqLink
generator and recording the audio signal that resulted,         to the Command program assumes that packets will never
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exceed 100 bytes or so (presumably since well-formatted             The code parsing authentication responses has an even
command messages are always smaller). This leads to              more egregious bug that permits circumvention without
another stack-based buffer overflow vulnerability that we        observing a correct response. In particular, there is a flaw
verified is exploitable. Interestingly, because this attack      such that for certain challenges (roughly one out of every
takes place at the lowest level of the protocol stack, it com-   256), carefully formatted but incorrect responses will be
pletely bypasses the higher-level authentication checks          interpreted as valid. If the random number generation is
implemented by the Command program (since these                  not re-initialized (e.g., if the car is on when repeatedly
checks themselves depend on being able to send packets).         called) then the challenge will change each time and 1
   There is one key gap preventing this exploit from             out of 256 trials will have the desired structure. Thus,
working in practice. Namely, the buffer overflow we              after an average of 128 calls the authentication test can be
chose to focus on requires sending over 300 bytes to             bypassed, and we are able to transmit the exploit (again,
the Gateway program. Since the aqLink protocol has               without any indication to the driver). This attack is more
a maximum effective throughput of about 21 bytes a               challenging to accomplish when the car is turned off
second, in the best case, the attack requires about 14           because the telematics unit can shut down when a call
seconds to transmit. However, upon receiving a call, the         ends (hence re-initializing the random number generator)
Command program sends the caller an authentication               before a second call can reach it.
request and, serendipitously, it requires a response within         To summarize, we identified several vulnerabilities in
12 seconds or the connection is effectively terminated.          how our telematics unit uses the aqLink code that, to-
Thus, we simply cannot send data fast enough over an             gether, allow a remote exploit. Specifically, there is a
unauthenticated link to overflow the vulnerable buffer.          discrepancy between the set of packet sizes supported by
   While we identified other candidate buffer overflows          the aqLink software and the buffer allocated by the telem-
of slightly shorter length, we decided instead to focus on       atics client code. However, to exploit this vulnerability
the authentication problem directly.                             requires first authenticating in order to set the call timeout
Vulnerabilities in authentication. When a call is placed         value long enough to deliver a sufficiently long payload.
to the car and data mode is initiated, the first command         This is possible due to a logic flaw in the unit’s authenti-
message sent by the vehicle is a random, three byte au-          cation system that allows an attacker to blindly satisfy the
thentication challenge packet and the Command program            authentication challenge after approximately 128 calls.
authentication timer is started. In normal operation, the        Concrete realization. We demonstrate and evaluate
TCC hashes the challenge along with a 64-bit pre-shared          our attack in two concrete forms. First, we implemented
key to generate a response to the challenge. When                an end-to-end attack in which a laptop running our
waiting for an authentication response, the Command              custom aqLink-compatible software modem calls our
program will not “accept” any other packet (this does            car repeatedly until it authenticates, changes the timeout
not prevent our buffer overflow, but does prevent sending        from 12 seconds to 60 seconds, and then re-calls our
other command messages). If an incorrect authentication          car and exploits the buffer overflow vulnerability we
response is received, or a response is not received within       uncovered. The exploit then forces the telematics unit
the prescribed time limit, the Command program will              to download and execute additional payload code from
send an error packet. When this packet is acknowledged,          the Internet using the IP-addressable 3G data capability.
the unit hangs up (and it is not possible to send any               We also found that the entire attack can be imple-
additional data until the error packet is acknowledged).         mented in a completely blind fashion — without any
   After several failed attempts to derive the shared            capacity to listen to the car’s responses. Demonstrating
key, we examined code that generates authentication              this, we encoded an audio file with the modulated
challenges and evaluates responses. Both contained errors        post-authentication exploit payload and loaded that file
that together were sufficient to construct a vulnerability.      onto an iPod. By manually dialing our car on an office
   First, we noted that the “random” challenge implemen-         phone and then playing this “song” into the phone’s
tation is flawed. In most situations, this nonce is static and   microphone, we are able to achieve the same results and
identical on the two cars we tested. The key flaw is that        compromise the car.
the random number generator is re-initialized whenever
the telematics unit starts — such as when a call comes           5   Remote Exploit Control
in after the car has been off — and it is seeded each time       Thus far we have described the external attack surface
with the same constant. Therefore, multiple calls to a car       of an automobile and demonstrated the presence of
while it is off result in the same expected response. Con-       vulnerabilities in a range of different external channels.
sequently, an attacker able to observe a response packet         An adversary could use such means to compromise
(e.g., via sniffing the cellular link during a TCC-initiated     a vehicle’s systems and install code that takes action
call) will be able to replay that response in the future.        immediately (e.g., unlocking doors) or in response to
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some environmental trigger (e.g., the time of day, speed,      arrives over the FM RDS channel. We experimentally
or location as exported via the onboard GPS).                  verified this with a low-power FM transmitter driven by
   However, the presence of wireless channels in the           a Pira32 RDS encoder; an attacker could communicate
modern vehicle qualitatively changes the range of options      over much longer ranges using higher power. Table 2 lists
available to the adversary, allowing actions to be remotely    the cost for this attack as medium given the complexity
triggered on demand, synchronized across multiple              of programming/debugging in the media player execution
vehicles, or interactively controlled. Further, two-way        environment (we bricked numerous CD players before
channels permit both remote monitoring and data exfil-         finalizing our implementation and testing on our car).
tration. In this section, we broadly evaluate the potential    Cellular. We modified our telematics exploit payload
for such post-compromise control, characterize these           to download and run a small (400 lines of C code) IRC
capabilities, and evaluate the capabilities via prototype      client post-compromise. The IRC client uses the vehicle’s
implementations for TPMS, Bluetooth, FM RDS and Cel-           high bandwidth 3G data channel to connect to an IRC
lular channels. Our prototype attack code is delivered by      server of our choosing, self-identifies, and then listens
exploiting one of the previously described vulnerabilities     for commands. Subsequently, any commands sent to this
(indeed, any exploit would work). Table 2 summarizes           IRC server (from any Internet connected host) are in turn
these results, again with our assessment of the effort         transmitted to the vehicle, parsed by the IRC client, and
required to discover and implement the capability.             then transmitted as CAN packets over the appropriate
TPMS. We constructed two versions of a TPMS-based              bus. We further provided functionality to use this channel
triggering channel. One installs code on another ECU           in both a broadcast mode (where all vehicles subscribed
(the telematics ECU in our case, although any ECU would        to the channel respond to the commands) or selectively
do) that monitors tire pressure signals as the TPMS ECU        (where commands are only accepted by the particular
broadcasts them over the CAN bus. The presence of a            vehicle specified in the command). For the former, we
particular tire pressure reading then triggers the payload;    experimentally verified this by compromising two cars
the trigger tire pressure value is not expected to be found    (located over 1,000 miles apart), having them both join
in the wild but must instead be adversarially transmitted      the IRC channel, and then both simultaneously respond
over the air. For our second example, the attack reflashes     to a single command (for safety, the command we sent
the TPMS ECU via CAN and installs code onto it that will       simply made the audio systems on both cars chime).
detect specific wireless trigger packets and, if detected,     Finally, the high-bandwidth nature (up to 1 Mbps at
will send pre-programmed CAN packets directly over the         times) of this channel makes it easy to exfiltrate data. (No
car’s internal network. Both attacks required a custom         special software is needed since ftp is provided on the
TPMS packet generator (described below). The latter            host platform.) To make this concrete we modified our
attack also required significant reverse engineering efforts   attack code for two demonstrations: one that periodically
(e.g., we had to write a custom IDA Pro module for             “tweets” the GPS location of our vehicle and another that
disassembling the firmware, and we were highly memory          records cabin audio conversations and sends the recorded
constrained, so that the resulting attack firmware —           data to our servers over the Internet.
hand-written object code — needed to re-use code space
originally allocated for CRC verification, the removal of      6    Threat Assessment
which did not impair the normal TPMS functionality).           Thus far we have considered threats primarily at a
   To experimentally verify these triggers, we reverse-        technical level. Previously, we have shown that gaining
engineered the 315 MHz TPMS modulation and framing             access to a car’s internal network provides sufficient
protocol (far simpler than the aqLink modem) and then im-      means for compromising all of its systems (including
plemented a USRP software radio module that generates          lights, brakes, and engine) [14]. In this paper, we have
the appropriate wireless signals to activate the triggers.     further demonstrated that an adversary has a practical
Bluetooth. We modified the Bluetooth exploit code on           opportunity to effect this compromise (i.e., via a range
the telematics ECU to pair, post compromise, with a            of external communications channels) without having
special MAC address used by the adversary and accept           physical access to the vehicle. However, real threats
her commands (either triggering existing functionality         ultimately have some motive as well: a more concrete
or receiving new functionality). We did not explore            goal that is achieved by exploiting the capability to attack.
exfiltrating data via the two-way Bluetooth channel, but          This leaves unanswered the crucial question: Just how
we see no reason why it would not be possible.                 serious are the threats? Obviously, there are no clear
FM RDS. Using the CD-based firmware update attack              ways to predict such things, especially in the absence
we developed earlier, we reflashed the media player ECU        of any known attacks in the wild. However, we can
to send a pre-determined set of CAN packets (our pay-          reason about how the capabilities we have identified
load) when a particular “Program Service Name” message         can be combined in service to known goals. While one
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Channel                  Range    Implemented Control / Trigger                                              Exfiltration   Cost
TPMS (tire pressure)     Short    Predefined tire pressure sequences causes telematics unit to send CAN      No             Low-Medium
                                  packets
TPMS (tire pressure)     Short    TPMS trigger causes TPMS receiver to send CAN packets                      No             Medium
Bluetooth                Short    Presence of trigger MAC addresses allows remote control                    Yes∗           Low
FM radio (RDS channel)   Long     FM RDS trigger causes radio to send CAN packets                            No             Medium
Cellular                 Global   IRC command-and-control (botnet) channel allows broadcast and              Yes            Low
                                  single-vehicle control

  Table 2: Implemented control and trigger channels. The Cost column captures the approximate effort to develop this
  post-compromise control capability. The Exfiltration column indicates whether this channel can also be used to exfiltrate
  data. For (∗), we did not experimentally verify data exfiltration over Bluetooth.

can easily envision hypothetical “cyber war” or terrorist            directs the car’s compromised telematics unit to unlock
scenarios (e.g., infect large numbers of cars en masse               the doors, start the engine, disengage the shift lock
via war dialing or a popular audio file and then, later,             solenoid (which normally prevents the car from shifting
trigger them to simultaneously disengage the brakes                  out of park without the key present), and spoof packets
when driving at high speed), our lack of experience with             used in the car’s startup protocol (thereby bypassing the
such concerns means such threats are highly speculative.             existing immobilizer anti-theft measures11 ). We have
   Instead, to gauge whether these threats create practical          implemented this attack on our car. In our experiments
risks, we consider (briefly) how the raw capabilities we             the accomplice only drove the “stolen” car forward and
have identified might affect two scenarios closer to our             backward because we did not want to break the steering
experience: financially motivated theft and third-party              column lock, though numerous online videos demonstrate
surveillance.                                                        how to do so using a screwdriver. (Other vehicles have
Theft. Using any of our implemented exploit capabilities             the steering column lock under computer control.)
(CD, PassThru, Bluetooth, and cellular), it is simple                Surveillance. We have found that an attacker who has
to command a car to unlock its doors on demand, thus                 compromised our car’s telematics unit can record data
enabling theft. However, a more visionary car thief                  from the in-cabin microphone (normally reserved for
might realize that blind, remote compromise can be used              hands-free calling) and exfiltrate that data over the con-
to change both scale and, ultimately, business model.                nected IRC channel. Moreover, as said before, it is easy
For example, instead of attacking a particular target                to capture the location of the car at all times and hence
car, the thief might instead try to compromise as many               track where the driver goes. These capabilities, which
cars as possible (e.g., by war dialing). As part of this             we have experimentally evaluated, could prove useful
compromise, he might command each car to contact a                   to private investigators, corporate spies, paparazzi, and
central server and report back its GPS coordinates and               others seeking to eavesdrop on the private conversations
Vehicle Identification Number (VIN). The IRC network                 within particular vehicles. Moreover, if the target vehicle
described in Section 5 provides just this capability. The            is not known, the mass compromise techniques described
VIN in turn encodes the year, make and model of each car             in the theft scenario can also be brought to bear on this
and hence its value. Putting these capabilities together,            problem. For example, someone wishing to eavesdrop
a car thief could “sift” through the set of cars, identify           on Google executives might filter a set of compromised
the valuable ones, find their location (and perhaps how              cars down to those that are both expensive and located in
long they have been parked) and, upon visiting a target              the Google parking lot at 10 a.m. The location of those
of interest then issue commands to unlock the doors and              same cars at 7 p.m. is likely to be the driver’s residence,
so on. An enterprising thief might stop stealing cars                allowing the attacker to identify the driver (e.g., via com-
himself, and instead sell his capabilities as a “service”            mercial credit records). We suspect that one could identify
to other thieves (“I’m looking for late model BMWs or                promising targets for eavesdropping quite quickly in this
Audis within a half mile of 4th and Broadway. Do you                 manner.
have anything for me?”) Careful readers may notice
that this progression mirrors the evolution of desktop               7    Discussion and Synthesis
computer compromises: from individual attacks, to mass               Our research provides us with new insights into the
exploitation via worms and viruses, to third-party markets           risks with modern automotive computing systems. We
selling compromised hosts as a service.                              begin here with a discussion of concrete directions for
   While the scenario itself is today hypothetical, we have          increasing security. We then turn to our now broadly
evaluated a complete attack whereby a thief remotely                    11 Past work on bypassing immobilizers required prior direct or in-
disables a car’s security measures, allowing a unskilled             direct access to the car’s keys, e.g., Bono et al. [2] and Francillon
accomplice to enter the car and drive it away. Our attack            et al. [9].
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informed reflections on why vulnerabilities exist today       PassThru and telematics devices. There is no reason for
and the challenges in mitigating them.                        these extraneous binaries to exist in shipping ECUs, and
                                                              they should be removed before deployment, as they make
7.1   Implementation fixes                                    it easier to exploit additional connectivity to the plat-
Our concrete, near-term recommendations fall into two         form.
familiar categories: restrict access and improve code ro-        Finally, secure (authenticated and reliable) software
bustness. Given the high interconnectedness of car ECUs       updates must also be considered as part of automotive
necessary for desired functionality, the solution is not to   component design.
simply remove or harden individual components (e.g., the
telematics unit) or create physically isolated subnetworks.   7.2   Vulnerability drivers
   We were surprised at the extent to which the car’s         While the recommendations in Section 7.1 can signifi-
externally facing interfaces were open to unsolicited         cantly increase the security of modern cars against exter-
communications — thereby broadening the attack surface        nal attacks and post-compromise control, none of these
significantly. Indeed, very simple actions, such as not       ideas are new or innovative. Thus, perhaps the more inter-
allowing Bluetooth pairing attempts without the driver’s      esting question is why they have not been applied in the
first manually placing the vehicle in pairing mode, would     automotive environment already. Our findings and subse-
have undermined our ability to exploit the vulnerability      quent interactions with the automotive industry have given
in the underlying Bluetooth code. Similarly, we believe       us a unique vantage point for answering this question.
the cellular interface could be significantly hardened by        One clear reason is that automobiles have not yet been
using inbound calls only to “wake up” the car (i.e., never    subjected to significant adversarial pressures. Tradition-
for data transfer) and having the car itself periodically     ally automobiles have not been network-connected and
dial out for requests while it is active. Finally, use of     thus manufacturers have not had to anticipate the actions
application-level authentication and encryption (e.g.,        of an external adversary; anyone who could get close
via OpenSSL) in the PassThru device’s proprietary             enough to a car to modify its systems was also close
configuration protocol would have prevented its code          enough to do significant damage through physical means.
from being exploited as well.                                 Our automotive systems now have broad connectivity;
   However, rather than assume the attack surface will        millions of cars on the road today can be directly
not be breached, the underlying code platform should          addressed via cellular phones and via the Internet.
be hardened as well. These include standard security             This is similar to the evolution of desktop personal
engineering best-practices, such as not using unsafe          computer security during the early 1990s. In the same
functions like strcpy, diligent input validation, and         way that connecting PCs to the Internet exposed extant
checking function “contracts” at module boundaries. As        vulnerabilities that previously could not conveniently be
an additional measure of protection against less-motivated    exploited, so too does increasing the connectivity of auto-
adversaries, we recommend removing all debugging              motive systems. This analogy suggests that, even though
symbols and error strings from deployed ECU code.             automotive attacks do not take place today, there is cause
   We also encourage the use of simple anti-exploitation      to take their potential seriously. Indeed, much of our work
mitigations such as stack cookies and ASLR that can           is motivated by a desire that the automotive manufacturers
be easily implemented even for simple processors and          should not repeat the mistakes of the PC industry — wait-
can significantly increase the exploit burden for poten-      ing for high profile attacks before making security a top
tial attackers. In the same vein, critical communications     priority [18, 19]. We believe many of the lessons learned
channels (e.g., Bluetooth and telematics) should have         in hardening desktop systems (such as those suggested ear-
some amount of behavioral monitoring. The car should          lier) can be quickly re-purposed for the embedded context.
not allow arbitrary numbers of connection failures to go         However, our experimental vulnerability analyses also
unanswered nor should outbound Internet connections to        uncover an ecosystem for which high levels of assurance
arbitrary destinations be allowed. In cases where ECUs        may be fundamentally challenging. Reflecting upon
communicate on multiple buses, they should only be al-        our discovered vulnerabilities, we noticed interesting
lowed to be reflashed from the bus with the smallest ex-      similarities in where they occur. In particular, virtually
ternal attack surface. This does not stop all attacks where   all vulnerabilities emerged at the interface boundaries
one compromised ECU affects an ECU on a bus with              between code written by distinct organizations.
a smaller attack surface, but it does make such attacks          Consider for example the Airbiquity software modem,
more difficult. Finally, a number of the exploits we de-      which appears to have been delivered as a completed
veloped were also facilitated by the services included in     component. We found vulnerabilities not in the software
several units. For example, we made extensive use of          modem itself but rather in the “glue” code calling it
telnetd, ftp, and vi, which were installed on the             and binding it to other telematics functions. It was here
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that the caller did not appear to fully understand the           the safety of a vehicle if he or she is capable of sending
assumptions made by the component being called.                  packets on the car’s internal wired network [14], and
   We find this pattern repeatedly. The Bluetooth vulner-        numerous other papers have discussed potential security
ability arose from a similar misunderstanding between            risks with future (wired and wireless) automobiles in
the callers of the Bluetooth protocol stack library and its      the abstract or on the bench [10, 15, 24, 26, 27, 28].
implementers (again in glue code). The PassThru vulnera-         To the best of our knowledge, however, we are the
bility arose in script-based glue code that tried to interface   first to experimentally and systematically study the
a proprietary configuration protocol with standard Linux         externally-facing attack surface of a car.
configuration scripts. Even the media player firmware               Our experimental analyses focus on a representative,
update vulnerability appears to have arisen because the          moderately priced sedan. We iteratively refined an auto-
manufacturer was unaware of the vestigial CD-based               motive threat model framework and implemented com-
reflashing capability implemented in the code base.              plete, end-to-end attacks along key points of this frame-
   While interface boundary problems are common in               work. For example, we can compromise the car’s ra-
all kinds of software, we believe there are structural rea-      dio and upload custom firmware via a doctored CD, we
sons that make them particularly likely in the automo-           can compromise the technicians’ PassThru devices and
tive industry. In particular, the automotive industry has        thereby compromise any car subsequently connected to
adopted an outsourcing approach to software that is quite        the PassThru device, and we can call our car’s cellular
similar to that used for mechanical components: supply           phone number to obtain full control over the car’s telem-
a specification and contract for completed parts. Thus,          atics unit over an arbitrary distance. Being able to com-
for many components the manufacturer does not do the             promise a car’s ECU is, however, only half the story: The
software development and is only responsible for integra-        remaining concern is what an attacker is able to do with
tion. We have found, for example, that different model           those capabilities. In fact, we show that a car’s externally-
years of ECUs with effectively the same functionality            facing I/O interfaces can be used post-compromise to
used completely different source code bases because they         remotely trigger or control arbitrary vehicular functions
were provided by different suppliers. Indeed, we have            at a distance and to exfiltrate data such as vehicle lo-
come to understand that frequently manufacturers do not          cation and cabin audio. Finally, we consider concrete,
have access to the source code for the ECUs they con-            financially-motivated scenarios under which an attacker
tract for (and suppliers are hesitant to provide such code       might leverage the capabilities we develop in this pa-
since this represents their key intellectual property ad-        per.
vantage over the manufacturer). Thus, while each sup-               Our experimental results give us the unique oppor-
plier does unit testing (according to the specification)         tunity to reflect on the security and privacy risks with
it is difficult for the manufacturer to evaluate security        modern automobiles. We synthesize concrete, pragmatic
vulnerabilities that emerge at the integration stage. Tra-       recommendations for future automotive security, as well
ditional kinds of automated analysis and code reviews            as identify fundamental challenges. We disclosed our
cannot be applied and assumptions not embodied in the            results to relevant industry and government stakeholders.
specifications are difficult to unravel. Therefore, while        While defending against known vulnerabilities does not
this outsourcing process might have been appropriate for         imply the non-existence of other vulnerabilities, many
purely mechanical systems, it is no longer appropriate for       of the specific vulnerabilities identified in this paper have
digital systems that have the potential for remote compro-       or will soon be addressed.
mise.
   Developing security solutions compatible with the             Acknowledgments
automotive ecosystem is challenging and we believe               We thank our shepherd Dan Wallach and the anonymous
it will require more engagement between the computer             reviewers for their helpful comments, Ingolf Krueger for
security community and automotive manufacturers (in              his guidance on understanding automotive architectures,
the same way that our community engages directly with            Conrad Meyer for his help with Bluesniff, and Cheryl
the makers of PC software today).                                Hile and Melody Kadenko for their support on all
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8   Conclusions                                                  supported by NSF grants CNS-0722000, CNS-0831532,
A modern automobile is controlled by tens of distinct            CNS-0846065, CNS-0963695, and CNS-0963702; by
computers physically interconnected with each other via          the MURI program under AFOSR Grant No. FA9550-
internal (wired) buses and thus exposed to one another.          08-1-0352; by a CCC-CRA-NSF Computing Innovation
A non-trivial number of these components are also exter-         Fellowship; by an NSF Graduate Research Fellowship;
nally accessible via a variety of I/O interfaces. Previous       by a Marilyn Fries Endowed Regental Fellowship; and
research showed that an adversary can seriously impact           by an Alfred P. Sloan Research Fellowship.
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